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18
                          CENTRAL DISTRICT OF CALIFORNIA
19
      Bureau of Consumer Financial              CASE NO. 8:19-cv-01998 MWF (KS)
20    Protection, et al.,
                                                 STIPULATION AS TO ENTRY OF
21                                               FINAL JUDGMENT AND ORDER
            Plaintiffs,
22                                               AS TO DEFENDANTS PRIME
                                                 CONSULTING LLC AND HORIZON
23          v.
                                                 CONSULTANTS LLC
24    Consumer Advocacy Center Inc., d/b/a
                                                 Court: Hon. Michael W. Fitzgerald
25    Premier Student Loan Center, et al.,
                                                 Courtroom 5A
26          Defendants.
27
                                         1
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 1         Plaintiffs the Bureau of Consumer Financial Protection (Bureau), the State
 2   of Minnesota, the State of North Carolina, and the People of the State of California
 3   (collectively, Plaintiffs) commenced this civil action on October 21, 2019, and
 4   filed an amended complaint on February 24, 2020 (Amended Complaint), to obtain
 5   permanent injunctive relief, damages, rescission or reformation of contracts,
 6   refunds of moneys paid, restitution, disgorgement or compensation for unjust
 7   enrichment, civil money penalties, and other monetary and equitable relief from:
 8   (1) Defendants Consumer Advocacy Center Inc. d/b/a Premier Student Loan
 9   Center; True Count Staffing Inc. d/b/a SL Account Management; Prime Consulting
10   LLC d/b/a Financial Preparation Services; TAS 2019 LLC d/b/a Trusted Account
11   Services; Horizon Consultants LLC; First Priority LLC d/b/a Priority Account
12   Management; Albert Kim; Kaine Wen; and Tuong Nguyen; and (2) Relief
13   Defendants Infinite Management Corp., f/k/a Infinite Management Solutions Inc.;
14   Hold The Door, Corp.; TN Accounting Inc.; Mice and Men LLC; Sarah Kim; 1st
15   Generation Holdings, LLC; and Anan Enterprise, Inc.
16         The Amended Complaint alleges violations of sections 1031(a) and 1036(a)
17   of the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531(a),
18   5536(a); the Telemarketing and Consumer Fraud and Abuse Prevention Act,
19   15 U.S.C. § 6102(c)(2) (Telemarketing Act), based on alleged violations of the
20   Telemarketing Sales Rule (TSR), 16 C.F.R. pt. 310; the Minnesota Prevention of
21   Consumer Fraud Act (MNCFA), Minn. Stat. §§ 325F.68-.694; the Minnesota
22   Uniform Deceptive Trade Practices Act (MNDTPA), Minn. Stat. §§ 325D.43-.48;
23   the North Carolina Debt Adjusting Act (NCDAA), N.C. Gen. Stat. § 14-423 et
24   seq.; the North Carolina Telephonic Seller Registration Act (NCTSRA), N.C. Gen.
25   Stat. § 66-260 et seq.; the North Carolina Unfair and Deceptive Practices Act
26   (NCUDPA), N.C. Gen. Stat. § 75-1.1; and the California Business and Professions
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28       STIPULATION AS TO ENTRY OF STIPULATED FINAL JUDGMENT AND ORDER
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 1   Code 17200 et seq. (the Unfair Competition Law or UCL) in connection with the
 2   above-named defendants’ marketing and sale of debt-relief services.
 3          The (1) Plaintiffs and (2) Defendants Prime Consulting LLC and Horizon
 4   Consultants LLC (Settling Defendants) stipulate to the entry of a stipulated final
 5   judgment and order, lodged concurrently with this stipulation, with the following
 6   terms and provisions:
 7                                          FINDINGS
 8          1.      This Court has jurisdiction over the parties and the subject matter of
 9   this action.
10          2.      Settling Defendants neither admit nor deny the allegations in the
11   Amended Complaint, except as specifically stated herein. For purposes of this
12   Order, Settling Defendants admit the facts necessary to establish the Court’s
13   jurisdiction over them and the subject matter of this action.
14          3.      Settling Defendants waive all rights to seek judicial review or
15   otherwise challenge or contest the validity of this Order and any claim they may
16   have under the Equal Access to Justice Act, 28 U.S.C § 2412, concerning the
17   prosecution of this action to the date of this Order. Each Party agrees to bear its
18   own costs and expenses, including, without limitation, attorneys’ fees.
19          4.      Entry of this Order is in the public interest.
20                                        DEFINITIONS
21   The following definitions apply to this Order:
22          5.      “Affected Consumers” includes any consumer who paid Defendants
23   or their officers, agents, servants, employees, or attorneys for any Debt-Relief
24   Service from November 2, 2015, to October 23, 2019.
25          6.      “Assets” means any legal or equitable interest in, right to, or claim to
26   any real, personal, or intellectual property owned or controlled by, or held, in
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 1   whole or in part for the benefit of, or subject to access by any Defendant, wherever
 2   located, whether in the United States or abroad. This includes, but is not limited to,
 3   chattel, goods, instruments, equipment, fixtures, general intangibles, effects,
 4   leaseholds, contracts, mail or other deliverables, shares of stock, commodities,
 5   futures, inventory, checks, notes, accounts, credits, receivables (as those terms are
 6   defined in the Uniform Commercial Code), funds, cash, and trusts, including but
 7   not limited to any trust held for the benefit of any Defendant’s minor children, or
 8   any of Defendants’ spouses.
 9         7.     “Assist[ing] Others” includes, but is not limited to:
10                a.    consulting in any form whatsoever;
11                b.    providing paralegal or administrative support services;
12                c.    performing customer service functions, including but not
13                limited to, receiving or responding to consumer complaints;
14                d.    formulating or providing, or arranging for the formulation or
15                provision of, any advertising or marketing material, including but not
16                limited to, any telephone sales script, direct mail solicitation, or the
17                text of any Internet website, email, or other electronic communication
18                or advertisement;
19                e.    formulating or providing, or arranging for the formulation or
20                provision of, any marketing support material or service, including but
21                not limited to, web or Internet Protocol addresses or domain name
22                registration for any Internet websites, affiliate marketing services, or
23                media placement services;
24                f.    providing names of, or assisting in the generation of, potential
25                customers;
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 1                 g.    performing marketing, billing, or payment services of any kind;
 2                 and
 3                 h.    acting or serving as an owner, officer, director, manager, or
 4                 principal of any entity.
 5         8.      “Bankruptcy Proceeding” means In re Consumer Advocacy Center
 6   Inc., Case No. 19-10655, currently pending in the United States Bankruptcy Court,
 7   Southern District of Florida, Fort Lauderdale Division.
 8         9.      “Bureau” means the Bureau of Consumer Financial Protection.
 9         10.     “Consumer Financial Product or Service” is synonymous in meaning
10   and equal in scope to the definition of the term in the CFPA, 12 U.S.C. § 5481(5),
11   and, subject to applicable restrictions contained in the CFPA, includes but is not
12   limited to:
13                 a.    providing financial advisory services to consumers on
14                 individual consumer financial matters or relating to proprietary
15                 financial products or services, including providing credit counseling
16                 to any consumer or providing services to assist a consumer with debt
17                 management or debt settlement, modifying the terms of any extension
18                 of credit, or avoiding foreclosure; and
19                 b.    engaging in deposit-taking activities, transmitting or
20                 exchanging funds, or otherwise acting as a custodian of funds or any
21                 financial instrument for use by or on behalf of a consumer.
22         11.     “Defendants” means Corporate Defendants and Individual
23   Defendants, individually, collectively, or in any combination, and each of them by
24   whatever names each might be known;
25                 a.    “Corporate Defendants” means Consumer Advocacy Center
26                 Inc., True Count Staffing Inc., Prime Consulting LLC, TAS 2019
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 1               LLC, Horizon Consultants LLC, and First Priority LLC, collectively,
 2               or in any combination, and their successors and assigns, and each of
 3               them by any other names by which they might be known, including
 4               South Coast Financial Center, Direct Account Services, Financial
 5               Loan Advisors, Account Preparation Services, Administrative
 6               Financial, Tangible Savings Solutions, Coastal Shores Financial
 7               Group, First Choice Financial Centre (a/k/a First Choice Financial
 8               Center), Administrative Account Services, Primary Account
 9               Solutions, Prime Document Services, Financial Accounting Center,
10               Doc Management Solutions, First Priority LLC, ALW Loans,
11               Administrative Accounting Center, Best Choice Financial Center,
12               First Document Services, Global Direct Accounting Solutions,
13               Keystone Document Center, Pacific Palm Financial Group, Pacific
14               Shores Advisory, Sequoia Account Management, Signature Loan
15               Solutions, Yellowstone Account Services, ClearStudentLoanDebt,
16               Clear Student Loan Debt, Trusted Account Services, Premier Student
17               Loan Center, and Priority Account Management;
18               b.    “Individual Defendants” means Albert Kim, a/k/a Albert King;
19               Kaine Wen, a/k/a Wenting Kaine Dai, Wen-Ting Dai, Wen Ting Dai,
20               Kaine Dai, and Kaine Wen Dai; and Tuong Nguyen, a/k/a Tom
21               Nelson, collectively, or in any combination, and each of them by any
22               other names by which they might be known;
23               c.    “Receivership Defendants” means True Count Staffing Inc.,
24               Prime Consulting LLC, TAS 2019 LLC, Horizon Consultants LLC,
25               and First Priority LLC, collectively, or in any combination, and their
26               successors and assigns;
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 1                  d.    “Relief Defendants” means:
 2                        i.     Infinite Management Corp., f/k/a Infinite Management
 3                       Solutions Inc.; Hold The Door, Corp.; TN Accounting Inc.;
 4                       Mice and Men LLC; 1st Generation Holdings, LLC; and Anan
 5                       Enterprise, Inc., collectively, or in any combination, and their
 6                       successors and assigns, and each of them by any other names by
 7                       which they might be known; and
 8                       ii.     Sarah Kim, and any other names by which she might be
 9                       known.
10                  e.    “Settling Defendants” means Prime Consulting LLC d/b/a
11                  Financial Preparation Services and Horizon Consultants LLC,
12                  collectively, or in any combination, and their successors and assigns,
13                  and each of them by any other names by which they might be known.
14            12.   “Debt-Relief Service” means any program or service represented,
15   directly or by implication, to renegotiate, settle, or in any way alter the terms of
16   payment or other terms of the debt between a consumer and one or more unsecured
17   creditors or debt collectors, including but not limited to, a reduction in the balance,
18   interest rate, or fees owed by a consumer to an unsecured creditor or debt collector.
19            13.   “Effective Date” means the date on which this Order is entered by the
20   Court.
21            14.   “Enforcement Director” means the Assistant Director of the Office of
22   Enforcement for the Bureau of Consumer Financial Protection, or his or her
23   delegate.
24            15.   “Person” means an individual, partnership, company, corporation,
25   association (incorporated or unincorporated), trust, estate, cooperative
26   organization, or other entity;
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 1         16.    “Plaintiffs” means the Bureau of Consumer Financial Protection, the
 2   State of Minnesota, the State of North Carolina, and the People of the State of
 3   California, collectively, or in any combination.
 4         17.    “Receiver” means Thomas W. McNamara.
 5         18.    “Related Consumer Action” means a private action by or on behalf of
 6   one or more consumers or an enforcement action by another governmental agency
 7   brought against any Settling Defendant based on substantially the same facts as
 8   described in the Amended Complaint.
 9         19.    “States” means the State of Minnesota, the State of North Carolina,
10   and the People of the State of California.
11         20.    “Service Provider” means any person that provides a material service
12   to a covered person, in connection with the offering or provision by such covered
13   person of a Consumer Financial Product or Service, including a person that—(i)
14   participates in designing, operating, or maintaining the Consumer Financial
15   Product or Service; or (ii) processes transactions relating to the Consumer
16   Financial Product or Service (other than unknowingly or incidentally transmitting
17   or processing financial data in a manner that such data is undifferentiated from
18   other types of data of the same form as the person transmits or processes). “Service
19   provider” does not include a person solely by virtue of such person offering or
20   providing to a covered person—(i) a support service of a type provided to
21   businesses generally or a similar ministerial service; or (ii) time or space for an
22   advertisement for a Consumer Financial Product or Service through print,
23   newspaper, or electronic media.
24                                   CONDUCT RELIEF
25                                                I
26       Permanent Ban on Telemarketing and Offering or Selling Debt-Relief
27
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 1                                           Services
 2    It is ORDERED that:
 3          21.    Settling Defendants, whether acting directly or indirectly, are
 4    permanently restrained from:
 5                 a.      participating in telemarketing or Assisting Others engaged in
 6                 telemarketing any Consumer Financial Product or Service;
 7                 b.      participating in or Assisting Others in advertising, marketing,
 8                 promoting, offering for sale, selling, or providing any Debt-Relief
 9                 Service; and
10                 c.      receiving any remuneration or other consideration from,
11                 holding any ownership interest in, providing services to, or working in
12                 any capacity for any Person engaged in or assisting in advertising,
13                 marketing, promoting, offering for sale, selling, or providing any
14                 Debt-Relief Service.
15    Nothing in this Order shall be read as an exception to this Paragraph.
16                                               II
17                      Prohibited Misrepresentations and Other Conduct
18    It is FURTHER ORDERED that:
19          22.    Settling Defendants and their officers, agents, servants, employees,
20    and attorneys, and all other Persons in active concert or participation with them,
21    who have actual notice of this Order, whether acting directly or indirectly, in
22    connection with the advertising, marketing, promotion, offering for sale, sale, or
23    performance of any Consumer Financial Product or Service, may not misrepresent,
24    or Assist Others in misrepresenting, expressly or impliedly:
25                 a.      the benefits that a consumer will receive from the product or
26                 service, including but not limited to, the amount of savings a
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 1                 consumer will receive from purchasing, using, or enrolling in the
 2                 Consumer Financial Product or Service;
 3                 b.      the time required to achieve benefits from the Consumer
 4                 Financial Product or Service;
 5                 c.      any aspect of the nature or terms of a refund, cancellation,
 6                 exchange, or repurchase policy of the Consumer Financial Product or
 7                 Service, including but not limited to, the likelihood of a consumer
 8                 obtaining a full or partial refund or the circumstances in which a full
 9                 or partial refund will be granted to the consumer; and
10                 d.      the total costs or any other material term, fact, restriction,
11                 limitation, or condition of the Consumer Financial Product or Service.
12                                               III
13                                 State Injunctive Provisions
14    It is FURTHER ORDERED that:
15          23.    Settling Defendants and their officers, agents, servants, employees,
16    and attorneys, and all other Persons in active concert or participation with them
17    who receive actual notice of this Order, shall be permanently restrained and
18    enjoined from violating:
19                 a.      the Minnesota Uniform Deceptive Trade Practices Act, Minn.
20                 Stat. § 325D.44;
21                 b.      the Minnesota Consumer Fraud Act, Minn. Stat. § 325F.69; and
22                 c.      the Minnesota Debt Settlement Services Act, Minn. Stat. §
23                 332B.
24          24.    Settling Defendants and their officers, agents, servants, employees
25    and attorneys, and those Persons in active concert or participation with any of them
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 1    who receive actual notice of this Order, shall be permanently restrained and
 2    enjoined from violating:
 3                 a.    the North Carolina Debt Adjusting Act, N.C. Gen. Stat. § 14-
 4                 423, et seq.;
 5                 b.    the North Carolina Unfair and Deceptive Practices Act, N.C.
 6                 Gen. Stat. § 75-1.1; and
 7                 c.    the North Carolina Telephonic Seller Registration Act, N.C.
 8                 Gen. Stat. § 66-260, et seq.
 9          25.    Under the Court’s inherent equitable powers and as authorized by
10    California Business and Professions Code section 17203, this Court is empowered
11    to “make such orders or judgments . . . as may be necessary to prevent the use or
12    employment by any person of any practice which constitutes unfair
13    competition . . .” Cal. Bus & Prof Code § 17203. Accordingly, Settling Defendants
14    and their officers, agents, servants, employees, and attorneys, and all other persons
15    in active concert or participation with them, whether acting directly or indirectly,
16    are permanently restrained from any of the following:
17                 a.    violating California Business and Professions Code section
18                 17200, et seq., through unlawful, fraudulent and/or unfair acts or
19                 practices including but not limited to:
20                       i.        Violating California Financial Code section 12000, et
21                       seq., the California Check Sellers, Bill Payers and Proraters
22                       Law, by acting as a check seller, bill payer, or prorater within
23                       the State of California without first obtaining a license from the
24                       California Commissioner of Business Oversight; and
25                      ii.        Violating California Financial Code section 28100, et
26                       seq., the California Student Loan Servicing Act, by engaging in
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 1                       the business of servicing student loans in California without first
 2                       obtaining a license as required under the Act.
 3                                             IV
 4                                  Customer Information
 5    It is FURTHER ORDERED that:
 6          26.    Settling Defendants and their officers, agents, servants, employees,
 7    and attorneys, and all other Persons in active concert or participation with any of
 8    them, who receive actual notice of this Order, whether acting directly or indirectly,
 9    may not:
10                  a.   disclose, use, or benefit from customer information, including
11                  the name, address, telephone number, email address, social security
12                  number, other identifying information, or any data that enables access
13                  to a customer’s account (including a credit card, bank account, or
14                  other financial account), that Defendants obtained before the
15                  Effective Date in connection with the offering or providing of Debt-
16                  Relief Services; and
17                  b.   attempt to collect, sell, assign, or otherwise transfer any right to
18                  collect payment from any consumer who purchased or agreed to
19                  purchase a Debt-Relief Service from any Defendant.
20          27.    However, customer information may be disclosed if requested by a
21    government agency or required by law, regulation, or court order.
22                               MONETARY PROVISIONS
23                                              V
24                                   Order to Pay Redress
25    It is FURTHER ORDERED that:
26          28.    A judgment for monetary relief is entered in favor of Plaintiffs and
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 1    against Settling Defendants as set forth below. Settling Defendant Prime
 2    Consulting LLC is liable, jointly and severally, in the amount of $95,057,757, for
 3    the purpose of providing redress to Affected Consumers. Of this judgment for
 4    monetary relief:
 5                 a.     Settling Defendant Horizon Consultants LLC shall be jointly
 6                 and severally liable for the amount of $12,942,045, such amount also
 7                 being for the purpose of providing redress to Affected Consumers.
 8          29.    However, full payment of each Settling Defendant’s portion of this
 9    judgment set forth in Paragraph 28 will be suspended, based on each Settling
10    Defendant’s inability to pay, upon each Settling Defendant’s satisfaction of the
11    obligations in Paragraphs 30-33 of this Section, Section VI, Paragraphs 42 and 44-
12    45 of Section VII, Paragraph 51 of Section IX, and subject to Section VIII of this
13    Order.
14          30.    Except as necessary to effectuate the transfers required by Paragraph
15    79, Settling Defendants hereby grant to the Bureau all rights and claims they have
16    to all Assets subject to the asset freeze imposed by the Preliminary Injunction
17    entered on November 15, 2019 (ECF 103), and all Assets identified in Attachment
18    A.
19          31.    To the extent they have not already done so, Settling Defendants are
20    ordered to transfer and relinquish to the Receiver, or to its designated agent,
21    possession, custody, and control of the following Assets within 7 days of entry of
22    this Order, unless otherwise stated:
23                 a.     dominion and all legal and equitable right, title, and interest in,
24                 as well as any accounts receivable from, the following entities and
25                 their Assets: Settling Defendants, including their successors, assigns,
26                 affiliates, or subsidiaries, and each of them by whatever names each
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 1                 might be known; and
 2                 b.     all Assets listed on Attachment A.
 3          32.    Settling Defendants shall cooperate fully with the Receiver and shall
 4    execute any instrument or document presented by the Receiver, and take any other
 5    actions the Receiver deems necessary or appropriate to effect the transfers required
 6    by Paragraph 31. All property set forth in Paragraph 31 shall constitute Assets of
 7    the receivership estate.
 8          33.    Except as necessary to effectuate the transfers required by Paragraph
 9    79, Settling Defendants hereby grant to the Bureau all rights and claims they have
10    to any Assets not subject to Paragraph 30 that are currently in the possession,
11    custody, or control of the Receiver, including but not limited to any such Assets
12    identified in Paragraph 31, and shall forfeit any rights and claims to the funds in
13    the receivership estate, including but not limited to: all funds held, obtained, or to
14    be obtained by the Receiver since the inception of the receivership whether
15    through this Order or otherwise.
16          34.    The suspension of the monetary judgment in Paragraph 29 shall not
17    affect the Receiver’s ability to pursue recovery of funds from any third parties to
18    satisfy all or a portion of the full monetary judgment entered in Paragraph 28.
19    Settling Defendants shall remain jointly and severally liable for full payment of
20    this judgment to the extent that funds to satisfy all or a portion of this judgment are
21    able to be recovered from third parties by the Receiver acting on behalf of the
22    Receivership Defendants.
23          35.    With regard to any redress that Settling Defendants pay under this
24    Section, if Settling Defendants receive, directly or indirectly, any reimbursement or
25    indemnification from any source, including but not limited to payment made under
26    any insurance policy, or if Settling Defendants secure a tax deduction or tax credit
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 1    with regard to any federal, state, or local tax, Settling Defendants must: (a)
 2    immediately notify the Enforcement Director and States in writing, and (b) within
 3    10 days of receiving the funds or monetary benefit, Settling Defendants must
 4    transfer the full amount of such funds or monetary benefit (Additional Payment) to
 5    the Bureau or to the Bureau’s agent according to the Bureau’s wiring instructions.
 6    After the Bureau receives the Additional Payment, the amount of the suspended
 7    judgment referenced in Paragraph 29 will be reduced by the amount of the
 8    Additional Payment and the Additional Payment will be applied toward
 9    satisfaction of the monetary judgment entered in Paragraph 28.
10          36.    Any funds received by the Bureau in satisfaction of this judgment will
11    be deposited into a fund or funds administered by the Bureau or to the Bureau’s
12    agent according to applicable statutes and regulations to be used for redress for
13    Affected Consumers, including but not limited to refund of moneys, restitution,
14    damages or other monetary relief, and for any attendant expenses for the
15    administration of any such redress.
16          37.    If the Bureau determines, in its sole discretion, that providing redress
17    to consumers is wholly or partially impracticable or if funds remain after the
18    administration of redress is completed, the Bureau will deposit any remaining
19    funds in the U.S. Treasury as disgorgement. Settling Defendants will have no right
20    to challenge the Bureau’s choice of remedies under this Section, and will have no
21    right to contest the manner of distribution chosen by the Bureau.
22          38.    Payment of redress to any Affected Consumer under this Order may
23    not be conditioned on that Affected Consumer waiving any right.
24                                              VI
25                    Order to Pay Civil Money Penalty to the Bureau
26    It is FURTHER ORDERED that:
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 1          39.    Under section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), by reason of
 2    the violations of law alleged in the Amended Complaint and taking into account
 3    the factors in 12 U.S.C. § 5565(c)(3), each Settling Defendant must pay a civil
 4    money penalty of $1 to the Bureau. These nominal civil penalties are based on
 5    each Settling Defendant’s limited ability to pay as attested to in all financial
 6    statements and supporting documents listed in Section VIII.
 7          40.    Within 10 days of the Effective Date, each Settling Defendant must
 8    pay the civil money penalty by wire transfer to the Bureau or to the Bureau’s agent
 9    in compliance with the Bureau’s wiring instructions.
10          41.    The civil money penalty paid under this Order will be deposited in the
11    Civil Penalty Fund of the Bureau as required by section 1017(d) of the CFPA,
12    12 U.S.C. § 5497(d).
13                                              VII
14                    Order to Pay Civil Money Penalties to the States
15    It is FURTHER ORDERED that:
16          42.    Settling Defendants are each jointly and severally liable to pay civil
17    penalties in this Enforcement Action under Minn. Stat. § 8.31 in the total amount
18    of $25,000 to the State of Minnesota, as provided in Paragraph 79.
19          43.    The Minnesota Attorney General will remit these funds to the general
20    fund of the State of Minnesota pursuant to Minn. Stat. §§ 8.31 and 16A.151.
21          44.    Settling Defendants are each jointly and severally liable to pay civil
22    penalties in this Enforcement Action under N.C. Gen. Stat. § 75-15.2 in the total
23    amount of $25,000 to the State of North Carolina, as provided in Paragraph 79.
24          45.    Settling Defendants are each jointly and severally liable to pay civil
25    penalties in this Enforcement Action under California Business and Professions
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 1    Code section 17206 in the total amount of $25,000 to the People of the State of
 2    California, as provided in Paragraph 79.
 3                                             VIII
 4       Misrepresentation or Omission Regarding Financial Condition or Non-
 5               Compliance with Order to Pay Redress or Civil Money Penalty
 6    It is FURTHER ORDERED that:
 7          46.      The suspension of the monetary judgment entered in Section V of this
 8    Order is expressly premised on the truthfulness, accuracy, and completeness of
 9    Settling Defendants’ sworn financial statements and supporting documents, which
10    each Settling Defendant asserts are truthful, accurate, and complete, and which
11    include:
12                   a.    Financial Statement of Prime Consulting LLC, including all
13                   attachments, signed on November 1, 2019, and submitted to the
14                   Bureau on or about November 4, 2019, and supplemented on August
15                   7, 2020; and
16                   b.    Financial Statement of Horizon Consultants LLC, including all
17                   attachments, signed on August 13, 2020, and submitted to the Bureau
18                   on or about August 17, 2020.
19          47.      If upon motion by any Plaintiff, the Court determines that any Settling
20    Defendant has failed to disclose any material Asset or that any of their financial
21    statements contain any material misrepresentation or omission, including
22    materially misstating the value of any Asset, the Court shall terminate the
23    suspension of the monetary judgment for that Settling Defendant entered in Section
24    V and without further adjudication, shall reinstate the judgment entered in Section
25    V of this Order and the full judgment set forth in that Section with respect to that
26    Settling Defendant shall be immediately due and payable, less any amounts paid to
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 1    the Bureau under Section V of this Order by that Settling Defendant.
 2          48.    If the Court terminates the suspension of the monetary judgment
 3    under this Section, the Bureau will be entitled to interest on the judgment,
 4    computed from the date of entry of this Order, at the rate prescribed by 28 U.S.C.
 5    § 1961, as amended, on any outstanding amounts not paid.
 6          49.    Provided, however, that in all other respects this Order shall remain in
 7    full force and effect unless otherwise ordered by the Court; and, provided further,
 8    that proceedings instituted under this Section would be in addition to, and not in
 9    lieu of any other civil or criminal remedies as may be provided by law, including
10    any other proceedings that Plaintiffs may initiate to enforce this Order.
11                                              IX
12                             Additional Monetary Provisions
13    It is FURTHER ORDERED that:
14          50.    In the event of any default on Settling Defendants’ obligations to
15    make payment under this Order, interest, computed under 28 U.S.C. § 1961, as
16    amended, will accrue on any outstanding amounts not paid from the date of default
17    to the date of payment, and will immediately become due and payable by the
18    defaulting Settling Defendant.
19          51.    Settling Defendants relinquish all dominion, control, and title to the
20    funds and all other Assets transferred or paid under this Order to the fullest extent
21    permitted by law and no part of the funds or other Assets may be returned to any
22    Settling Defendant.
23          52.    The facts alleged in the Amended Complaint will be taken as true and
24    given collateral estoppel effect, without further proof, in any proceeding based on
25    the entry of the Order, or in any subsequent civil litigation by or on behalf of the
26    Plaintiffs, including in a proceeding to enforce their rights to any payment or
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 1    monetary judgment under this Order, such as a non-dischargeability complaint in
 2    any bankruptcy case.
 3          53.    The facts alleged in the Amended Complaint establish all elements
 4    necessary to sustain an action by the Plaintiffs under section 523(a)(2)(A) of the
 5    Bankruptcy Code, 11 U.S.C. § 523(a)(2)(A), and for such purposes this Order will
 6    have collateral estoppel effect against each Settling Defendant, even in such
 7    Defendant’s capacity as debtor-in-possession.
 8          54.    Under 31 U.S.C. § 7701, Settling Defendants, unless they already
 9    have done so, must furnish to Plaintiffs any taxpayer-identifying numbers
10    associated with them or their Assets, which may be used for purposes of collecting
11    and reporting on any delinquent amount arising out of this Order.
12          55.    Within 30 days of the entry of a final judgment, order, or settlement in
13    a Related Consumer Action, Settling Defendants must notify the Enforcement
14    Director of the final judgment, order, or settlement in writing. That notification
15    must indicate the amount of redress, if any, that the Settling Defendant paid or is
16    required to pay to consumers and describe the consumers or classes of consumers
17    to whom that redress has been or will be paid. To preserve the deterrent effect of
18    the civil money penalty in any Related Consumer Action, Settling Defendants may
19    not argue that they are entitled to, nor may any Settling Defendant benefit by, any
20    offset or reduction of any monetary remedies imposed in the Related Consumer
21    Action because of the civil money penalty paid in this action or because of any
22    payment that the Bureau makes from the Civil Penalty Fund. If the court in any
23    Related Consumer Action offsets or otherwise reduces the amount of
24    compensatory monetary remedies imposed against any Settling Defendant based
25    on the civil money penalty paid in this action or based on any payment that the
26    Bureau makes from the Civil Penalty Fund, the Settling Defendant must, within 30
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 1    days after entry of a final order granting such offset or reduction, notify the Bureau
 2    and pay the amount of the offset or reduction to the U.S. Treasury. Such a payment
 3    will not be considered an additional civil money penalty and will not change the
 4    amount of the civil money penalty imposed in this action.
 5          56.    Settling Defendants must treat all civil money penalties paid under
 6    this Order as a penalty paid to the government for all purposes. Regardless of how
 7    such funds are used, Settling Defendants may not:
 8                 a.    claim, assert, or apply for a tax deduction, tax credit, or any
 9                 other tax benefit for any civil money penalty paid under this Order; or
10                 b.    seek or accept, directly or indirectly, reimbursement or
11                 indemnification from any source, including but not limited to payment
12                 made under any insurance policy, with regard to any civil money
13                 penalty paid under this Order.
14                                              X
15                                  Lifting of Asset Freeze
16    It is FURTHER ORDERED that:
17          57.    The freeze on the Assets of Settling Defendants is modified to permit
18    the payments and other transfers of Assets identified in Sections V, VI, VII and IX
19    of this Order. Upon completion of all payments and other obligations identified in
20    Sections V, VI, VII and IX of this Order, the freeze of the Settling Defendants’
21    Assets pursuant to the Preliminary Injunction entered on November 15, 2019 (ECF
22    103), shall be dissolved.
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 1                              COMPLIANCE PROVISIONS
 2                                               XI
 3                                  Reporting Requirements
 4    It is FURTHER ORDERED that:
 5          58.    Settling Defendants must notify Plaintiffs of any development that
 6    may affect compliance obligations arising under this Order, including but not
 7    limited to, a dissolution, assignment, sale, merger, or other action that would result
 8    in the emergence of a successor company; the creation or dissolution of a
 9    subsidiary, parent, or affiliate that engages in any acts or practices subject to this
10    Order; the filing of any bankruptcy or insolvency proceeding by or against any
11    Settling Defendant; or a change in any Settling Defendant’s name or address.
12    Settling Defendants must provide this notice at least 30 days before the
13    development or as soon as practicable after learning about the development,
14    whichever is sooner.
15          59.    Within 7 days of the Effective Date, each Settling Defendant must:
16                 a.     designate at least one telephone number and email, physical,
17                 and postal address as points of contact, which Plaintiffs may use to
18                 communicate with such Settling Defendant;
19                 b.     identify all businesses for which the Settling Defendant is the
20                 majority owner, or that such Settling Defendant directly or indirectly
21                 controls, by all of their names, telephone numbers, and physical,
22                 postal, email, and Internet addresses; and
23                 c.     describe the activities of each such business, including the
24                 products and services offered, and the means of advertising,
25                 marketing, and sales.
26          60.    Each Settling Defendant must report any change in the information
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 1    required to be submitted under Paragraph 59 above at least 30 days before the
 2    change or as soon as practicable after learning about the change, whichever is
 3    sooner.
 4                                               XII
 5                        Order Distribution and Acknowledgment
 6    It is FURTHER ORDERED that:
 7          61.    For 5 years from the Effective Date, each Settling Defendant must
 8    deliver a copy of this Order to any business entity resulting from any change in
 9    structure referred to in Section XI, any future board members and executive
10    officers, as well as to any managers, employees, Service Providers, or other agents
11    and representatives who will have responsibilities related to the subject matter of
12    the Order before they assume their responsibilities.
13                                               XIII
14                                       Recordkeeping
15    It is FURTHER ORDERED that:
16          62.    Each Settling Defendant must create, for at least 10 years from the
17    Effective Date, the following business records: all documents and records
18    necessary to demonstrate full compliance with each provision of this Order,
19    including all submissions to any Plaintiff. Each Settling Defendant must retain
20    these documents for at least 10 years after creation and make them available to
21    Plaintiffs upon any Plaintiff’s request.
22          63.    Settling Defendants must maintain, for at least 10 years from the
23    Effective Date or 5 years after creation, whichever is longer:
24                 a.     copies of all sales scripts; training materials; advertisements;
25                 websites; and other marketing materials, including any such materials
26                 used by a third party on any Settling Defendant’s behalf, relating to
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 1               any Consumer Financial Product or Service;
 2               b.    for each individual Affected Consumer and his or her
 3               enrollment in that Consumer Financial Product or Service: the
 4               consumer’s name, address, phone number, email address; amount
 5               paid, quantity of Consumer Financial Products or Services purchased,
 6               description of the Consumer Financial Product or Service purchased,
 7               the date on which the Consumer Financial Product or Service was
 8               purchased, a copy of any promotional or welcome materials provided,
 9               and, if applicable, the date and reason the consumer left the program;
10               c.    for all Consumer Financial Products or Services, accounting
11               records showing the gross and net revenues generated by the
12               Consumer Financial Product or Service;
13               d.    all consumer complaints and refund requests (whether received
14               directly or indirectly, such as through a third party) relating to a
15               Consumer Financial Product or Service, and any responses to those
16               complaints or requests;
17               e.    records showing, for each employee providing services related
18               to a Consumer Financial Product or Service, that person’s name,
19               telephone number, email, physical, and postal address, job title or
20               position, dates of service, and, if applicable, the reason for
21               termination; and
22               f.    records showing, for each Service Provider providing services
23               related to a Consumer Financial Product or Service, the name of a
24               point of contact, and that Person’s telephone number, email, physical,
25               and postal address, job title or position, dates of service, and, if
26               applicable, the reason for termination.
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 1          64.    Settling Defendants must make these materials available to Plaintiffs
 2    upon any Plaintiff’s request.
 3                                             XIV
 4                                           Notices
 5    It is FURTHER ORDERED that:
 6          65.    Unless otherwise directed in writing by the Bureau, Settling
 7    Defendants must provide all submissions, requests, communications, or other
 8    documents relating to this Order in writing, with the subject line, “CFPB, et al., v.
 9    CAC, et al., Case No. 8:19-cv-01998-MWF-KS” and send them by overnight
10    courier or first-class mail to the below address and contemporaneously by email to
11    Enforcement_Compliance@cfpb.gov:
12                 Assistant Director for Enforcement
13                 Bureau of Consumer Financial Protection
14                 ATTENTION: Office of Enforcement
15                 1700 G Street, N.W.
16                 Washington, D.C. 20552
17          66.    Unless otherwise directed by a representative of the State of
18    Minnesota in writing, all submissions to the State of Minnesota pursuant to this
19    Order must be sent by overnight courier or first-class mail to the below address and
20    contemporaneously by email to evan.romanoff@ag.state.mn.us:
21                 Evan Romanoff, Assistant Attorney General
22                 Office of the Minnesota Attorney General
23                 445 Minnesota Street, Suite 1200
24                 St. Paul, Minnesota 55101
25          67.    Unless otherwise directed by a representative of the State of North
26    Carolina in writing, all submissions to the State of North Carolina pursuant to this
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 1    Order must be sent by overnight courier or first-class mail to the below address and
 2    contemporaneously by email to lweaver@ncdoj.gov:
 3                 M. Lynne Weaver, Special Deputy Attorney General
 4                 North Carolina Department of Justice
 5                 114 W. Edenton Street
 6                 Raleigh, North Carolina 27603
 7          68.    Unless otherwise directed by the State of California in writing, all
 8    submissions to the State of California pursuant to this Order must be sent by
 9    overnight courier or first-class mail to the below address and contemporaneously
10    by email to christina.tusan@lacity.org:
11                 Christina Tusan
12                 Supervising Deputy City Attorney
13                 Los Angeles City Attorney’s Office
14                 200 N. Main Street, 5th Floor
15                 Los Angeles, CA 90012
16          69.    The Enforcement Director may, in his or her discretion, modify any
17    non-material requirements of this Order (e.g., reasonable extensions of time and
18    changes to reporting requirements) if he or she determines good cause justifies the
19    modification. Any such modification by the Enforcement Director must be in
20    writing.
21                                              XV
22                                Cooperation with Plaintiffs
23    It is FURTHER ORDERED that:
24          70.    Settling Defendants must cooperate fully with Plaintiffs in this matter
25    and in any investigation or litigation related to or associated with the conduct
26    described in the Amended Complaint, including related to the Bankruptcy
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 1    Proceeding. Settling Defendants must provide truthful and complete information,
 2    evidence, and testimony. Settling Defendants must cause their officers, employees,
 3    representatives, or agents to appear for interviews, discovery, hearings, trials, and
 4    any other proceedings that any Plaintiff may reasonably request upon 10 days
 5    written notice, or other reasonable notice, at such places and times as Plaintiff may
 6    designate, without the service of compulsory process.
 7          71.    Settling Defendants must cooperate fully to help Plaintiffs determine
 8    the identity, location, and contact information of any Defendant and any Person
 9    who might have contact information for any Defendant. Settling Defendants must
10    provide such information in their or their agents’ possession or control within 14
11    days of receiving a written request from any Plaintiff.
12          72.    Settling Defendants must cooperate fully to help Plaintiffs determine
13    the identity and location of, and the amount of injury sustained by, each Affected
14    Consumer. Settling Defendants must provide such information in their or their
15    agents’ possession or control within 14 days of receiving a written request from
16    any Plaintiff.
17                                             XVI
18                                  Compliance Monitoring
19    It is FURTHER ORDERED that, to monitor Settling Defendants’ compliance
20    with this Order, including the financial representations upon which part of the
21    judgment was suspended:
22          73.    Within 14 days of receipt of a written request from any Plaintiff, each
23    Settling Defendant must submit additional Compliance Reports or other requested
24    information, which must be made under penalty of perjury; provide sworn
25    testimony; or produce documents.
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 1             74.   For purposes of this Section, Plaintiffs may communicate directly
 2    with each Settling Defendant, unless the Settling Defendant retains counsel related
 3    to these communications.
 4             75.   Each Settling Defendant must permit Plaintiffs’ representatives to
 5    interview any employee or other Person affiliated with the Settling Defendant who
 6    has agreed to such an interview. The Person interviewed may have counsel present.
 7    Nothing in this Order will limit the Bureau’s lawful use of civil investigative
 8    demands under 12 C.F.R. § 1080.6 or any Plaintiff’s use of other compulsory
 9    process.
10             76.   Plaintiffs are authorized by this Order to use all other lawful means,
11    including posing, through representatives, as consumers, suppliers, or other
12    individuals or entities, to the Settling Defendants or any individual or entity
13    affiliated with Settling Defendants, without the necessity of identification or prior
14    notice, and may record any communications that occur in the course of such
15    contacts.
16                                             XVII
17                                         Receivership
18    It is FURTHER ORDERED that:
19             77.   The receivership imposed by this Court shall continue in the manner
20    set forth in the Preliminary Injunction issued on November 15, 2019 (ECF 103), as
21    to all Defendants and Relief Defendants, except as modified by this Section and
22    Section X, and the Receiver shall continue to have the full powers of an equity
23    receiver, as an agent of the Court, pursuant to Sections XIV and XV of the
24    Preliminary Injunction, which shall remain in effect until further order of the
25    Court.
26             78.   The Receiver shall take all necessary steps to wind down the affairs of
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 1    the Settling Defendants. Within 14 days of entry of this Order, the Receiver shall
 2    transfer $1,400,000 of Settling Defendants’ Assets currently maintained in the
 3    Receiver’s account to the Bureau. Future transfers of funds recovered by the
 4    Receiver shall be treated as Additional Payments, pursuant to Paragraph 35.
 5             79.   Within 14 days of liquidating Settling Defendants’ Assets transferred
 6    pursuant to Paragraph 31, the Receiver shall transfer $25,000 to the State of
 7    Minnesota, $25,000 to the North Carolina Attorney General, and $25,000 to the
 8    People of the State of California from the Settling Defendants’ Assets maintained
 9    in the Receiver’s account. These transfers shall be made to satisfy the civil money
10    penalties to each State as set forth in Section VII.
11             80.   The Receiver shall promptly take all steps necessary to liquidate the
12    Settling Defendants’ Assets using any commercially reasonable means, including
13    auction and/or private sale, and all such sales shall be deemed authorized and
14    approved under 28 U.S.C. § 2004 without further notice, hearing, or court order.
15    After such liquidation, the Receiver shall remit the net proceeds to the Bureau or
16    its designated representative as payment toward the monetary judgments entered
17    against Settling Defendants within 21 days of each such sale or liquidation, subject
18    to Paragraph 79.
19             81.   The Receiver and his representatives shall continue to be entitled to
20    reasonable compensation for the performance of their duties pursuant to this Order
21    from the Assets of the Receivership Defendants. The Receiver and his
22    representatives shall not increase their hourly rates without prior approval of the
23    Court.
24                                             XVIII
25                                  Retention of Jurisdiction
26    It is FURTHER ORDERED that:
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 1          82.   The Court will retain jurisdiction of this matter for the purpose of
 2    enforcing this Order.
 3

 4    SO STIPULATED AND AGREED:
 5

 6                                          Respectfully submitted,
 7

 8
      Dated: August 25, 2020                By: /s/ Jesse Stewart
                                            Jesse Stewart (NY Bar No. 5145495)
 9                                          (admitted pro hac vice)
10                                          Enforcement Attorney
                                            1700 G Street NW
11                                          Washington, DC 20552
12                                          Phone: (202) 435-9641
                                            Fax: (202) 435-9346
13                                          Email: jesse.stewart@cfpb.gov
14
                                            Attorney for Plaintiff
15                                          Bureau of Consumer Financial Protection
16
      Dated: August 25, 2020                By: /s/ M. Lynne Weaver
17                                          M. Lynne Weaver (N.C. Bar No. 19397)
18                                          (admitted pro hac vice)
                                            Special Deputy Attorney General
19                                          North Carolina Department of Justice
20                                          114 W. Edenton St.
                                            Raleigh, NC 27603
21                                          Phone: (919) 716-6039
22                                          Fax: (919) 716-6050
                                            Email: lweaver@ncdoj.gov
23

24                                          Attorney for Plaintiff
                                            State of North Carolina
25

26    Dated: August 25, 2020                By: /s/ Evan Romanoff
27
                                          30
28        STIPULATION AS TO ENTRY OF STIPULATED FINAL JUDGMENT AND ORDER
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 1                                            Evan Romanoff (Atty. Reg. No. 0398223)
 2
                                              (admitted pro hac vice)
                                              Assistant Attorney General
 3                                            445 Minnesota Street, Suite 1200
 4                                            St. Paul, MN 55101-2130
                                              Phone: (651) 757-1454
 5                                            Fax: (651) 296-7438
 6                                            Email: evan.romanoff@ag.state.mn.us

 7
                                              Attorney for Plaintiff
 8                                            State of Minnesota
 9
      Dated: August 25, 2020                  By: /s/ Christina Tusan
10                                            Christina Tusan,
11                                            Supervising Deputy City Attorney
                                              Office of the City Attorney
12                                            Consumer and Workplace Protection Unit
13                                            200 N. Main Street, 500 City Hall East
                                              Los Angeles, CA 90012
14                                            213-473-6908
15                                            christina.tusan@lacity.org

16                                            Attorney for Plaintiff the People of the State
17                                            of California
18    Dated: August 25, 2020                  By: /s/ Marc S. Williams
19                                            Marc S. Williams
                                              Cohen Williams LLP
20                                            724 South Spring Street, 9th Floor
21                                            Los Angeles, CA 90014
                                              Telephone: (213) 232-5162
22                                            Facsimile: (213) 232-5167
23
                                              Attorney for Defendants Prime Consulting
24                                            LLC and Horizon Consultants LLC
25

26
      I, Jesse Stewart, attest that all other signatories listed, and on whose behalf the
27
                                          31
28        STIPULATION AS TO ENTRY OF STIPULATED FINAL JUDGMENT AND ORDER
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 1    filing is submitted, concur in the filing’s content and have authorized the filing.
 2                                            /s/ Jesse Stewart
 3                                            Jesse Stewart
 4

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28        STIPULATION AS TO ENTRY OF STIPULATED FINAL JUDGMENT AND ORDER
